Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 1 of 36 Page ID #:10




                 EXHIBIT "A"
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 2 of 36 Page ID #:11


   ■ CT Corporation                                                          Service of Process
                                                                             Transmittal
                                                                             04/20/2017
                                                                             CT Log Number 531088161
      TO:     Howard Harris
              BMW of North America, LLC
              300 Chestnut Ridge Road
              Woodcliff Lake, NJ 07677-7731

      RE:     Process Served in California

      FOR:    BMW of North America, LLC (Domestic State: DE)




      ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

      TITLE OF ACTION:                 LORENA GODINEZ, Pltf. vs. BMW of North America, LLC, etc., et al., Dfts.
      DOCUMENT(S)SERVED:               summons, Complaint, Attachment(s)
      COURT/AGENCY:                    Los Angeles County - Superior Court - Hill Street, CA
                                       Case tt BC658238
      NATURE OF ACTION:                Product Liability Litigation - Lemon Law - 2010 BMW 3281SA, VIN
                                       WBAPH5G54ANM34946
      ON WHOM PROCESS WAS SERVED:      C T Corporation System, Los Angeles, CA
      DATE AND HOUR OF SERVICE:        By Process Server on 04/20/2017 at 14:50
      JURISDICTION SERVED :            California
      APPEARANCE OR ANSWER DUE:        Within 30 days
      ATTORNEY(S)/ SENDER(S):         Steve Mikhov
                                      KNIGHT LAW GROUP, LLP
                                      1801 Century Park East, Suite 2300
                                      Los Angeles, CA 90067
                                      (310) 552-2250
      ACTION ITEMS:                   CT has retained the current log, Retain Date: 04/20/2017, Expected Purge Date:
                                      04/25/2017
                                       Image SOP
                                       Email Notification, Barry Chen Barry.chen@bmwnaext.com
                                       Email Notification, Diane Carbone Diane.Carbone@bmwna.com
                                       Email Notification, Gino Palacios Gino.Palacios@bmwnaext.com

      SIGNED:                         C T Corporation System
      ADDRESS:                        818 West Seventh Street
                                      Los Angeles, CA 90017
      TELEPHONE:                      213.337-4615




                                                                            Page 1 of 1 / SC
                                                                            Information displayed on this transmittal is for CT
                                                                            Corporation's record keeping purposes only and is provided to
                                                                            the recipient for quick reference. This information does not
                                                                            constitute a legal opinion as to the nature of action, the
                                                                            amount of damages, the answer date, or any information
                                                                            contained in the documents themselves, Recipient is
                                                                            responsible for interpreting said documents and for taking
                                                                            appropriate action, Signatures on certified mail receipts
                                                                            confirm receipt of package only, not contents.
    Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 3 of 36 Page ID #:12

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                            ( CITACION JUDICIAL)
           NOTICE TO DEFENDANT:
         • (AVISO AL DEMANDADOR                                         y, MCKENNA
                                                                                                                                               CONFORMED COPY
            BMW ofNorth America,LLC,a Delaware Limited Liability Compan                                                                         O RIGINAL FILED
                                   a CALEF   ORMA CORPO   RATIO   N.dills MCKENNA                                                            Superior Court of California
            MOTOR COMPANY,INC,                                                                                                                 County of Los Anoeles
            BMW,and DOES 1 through 10.inclusive,
           YOU ARE BEING SUED BY PLAINTIFF:                                                                                                            APR 16 2017
          (LO ESTA DEMANDANDO EL DEMANDANTE):
            LORENA GODINEZ                                                                                                                          Executive 01E800                       lurk
                                                                                                                                  Sherri R. Carter,
                                                                                                                                           B Y: Judi Lard,Deputy
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                                                       as en Individual defendant
                                                                                                                ):
                                             2.        es the person sued under the fictitious name of (spacify
                                                          c3
                                                       & CZ)    on behalf of (sposity):BMW of North America, LLC, a Delaware Limited Liability Company
                                                                                                                     MI CCP 418.80 (minor)
                                                           under. 1=1 CCP 418,10 (corporation)
                                                                  CM CCP 418.20 (defunct corporation)                Ms CCP 418,70 (conservatee)
                                                                  1=1 CCP 418.40      (easoct etion or partner ship)              Ej
                                                                                                                        CCP 418.90 (authorized person)

                                                                  CE1 other (specify): Corporation C e 17 1 (Limited Liability Company)
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Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 4 of 36 Page ID #:13

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                                                                                      CONFORMED   COPY
    1 KNIGHT LAW GROUP,LLP                                                              RIGINAL FILED
                                                                                         O             California
      Steve Mikhov(SBN 224676)           .                                           Superior Court ofAnneles
    2                         Suite 2300                                              • r;ountv of Los
      1801 Century Park East,
    3 Los Angeles, CA 90067                                                                 AM 1 6 2017
      Telephone:(310)552-2250
    4 Fax:(310)552-7973.                                                                         EXUGUtiVe0InCet    Clerk
                                                                                   Sherri R.Cader Lem.Deputy
    5                                                                                       By: Judi
       Attorneys for Plaintiff,
    6 •LORENA    GODINEZ

                                   • SUPERIOR COURT OF CALIFORNIA
    8                                   COUNTY OF LOS ANGELES

    9
          LORENA GODINEZ,                           Case No.:                     BC 6 58 238
   10
                                                    Unlimited Jurisdiction
   1 1.               Plaintiff,                                                 BC6 58 238
   12
               VS.
   13                                               COMPLAINT

   14                                                 1. VIOLATION OF SONG-BEVERLY
          BMW of North,America,LLC,a Delaware
                                                         ACT BREACH OF EXPRESS
   15     Limited Liability Company, MCKENNA             WARRANTY
          MOTOR COMPANY,INC.,a California
   16                                                 2. VIOLATION OF SONG-BEVERLY
          Corporation, d/b/a MCKENNA BMW,and           • ACT - BREACH OF IMPLIED
   17     DOES 1 through 10,inclusive,                   WARRANTY
                                                      3. VIOLATION.OF THE SONG-
   18                                                    BEVERLY ACT SECTION 1793.2
                      Defendants.
   19
   20
   21
  22
                                                    Assignedfor All Purposes to the
   23                                               Honorable
  24
                                                    Department
  25
  26
  27
  28

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                                             COMPLAINT
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 5 of 36 Page ID #:14
                                                                 • • •••••••,00•••••••• •••••••••• ••   01




   1           Plaintiff, LORENA OODINEZ, alleges as follows against Defendants, BMW of North
   2 America, LLC,("BMW LLC") a Delaware Limited Liability Company, MCKENNA MOTOR
   3 COMPANY,INC.,a California Corporation,d/b/a MCKENNA BMW,("MCKENNA BMW"),and
   4 DOES 1 through 10 inclusive, on information and belief, formed after an inquiry reasonable under
   5   the circumstances:
  6
   7                                   DEMAND FOR JURY TRIAL
   8       1. Plaintiff, LORENA GODINEZ,hereby demands trial byjury in this action.
  9
 '10                                      GENERAL ALLEGATIONS
  11      2. Plaintiff, LORENA GOMEZ,is an individual residing in the City of Montebello,County
 12 ofLos Angeles,and State ofCalifornia.
  13      3. Defendant BMW LLC is and was a Delaware Limited.Liability Company registered to do
 14 business in the State of California with its registered office in the City of Los Angeles, County of
  15 Sacramento, and State of California.
 16.      4. Defendant MCKENNA BMW,is and at all relevant times was a California Corporation
 17 registered to do business in the State ofCalifornia with its principal place ofbusiness in the City of
 18 Norwalk, County ofLos Angeles, and State of California.
 19       5.      These causes ofaction arise out ofthe warranty obligations ofBMW LLC in connection
 20 with a vehicle purchased by Plaintiff and for which BMW LLC issued a written warranty.
 21       6. Plaintiff does not know the true names and capacities, whether corporate, partnership,
 22 associate,individual or otherwise ofDefendant issued herein as Does 1 through 10,inclusive, under
 23 the provisions ofsection 474 ofthe California Code of Civil Procedure. Defendant Does 1 through
, 24   10, inclusive, are in some manner responsible for the acts, occurrences and transactions set forth
 25    herein, and are legally liable to Plaintiff Plaintiff will seek leave to attend this Complaint to set
 26 forth the true names and capacities of the fictitiously named Defendant, together with appropriate
 27 charging allegations, when ascertained.
 28 /II

                                                     -2-
                                                 COMPLAINT
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 6 of 36 Page ID #:15
                                                                                         •   •••••••.••••1•11••••••••




  1         7. All acts ofcorporate employees as alleged were authorized or ratified by an officer, director,
  2 or managing agent ofthe corporate employer.
  3         8. Each Defendant, whether actually or fictitiously named herein, was the principal, agent
       (actual or ostensible),or employee ofeach other Defendant,and in acting as such principal or within
  5     the course and scope,of such employment or agency, took some part in the acts and omissions
 •6     hereinafter set forth by reason ofwhich each Defendant is liable to Plaintifffor the relief prayed for
  7 herein.
  8        9.        On December 31, 2009, Plaintiff purchased a new 2010 BMW 328iSA, YEN:
  9     WBAPH5G54ANM34946,("the vehicle"). Express warranties accompanied the sale ofthe vehicle
 10 to Plaintiff by which BMW LLC unlertook to preserve or maintain the utility or performance of
 11     Plaintiff's vehicle or to provide compensation if there was a failure in such utility or performance.
 12 The sales contract is attached hereto and incorporated by its reference as Exhibit 1.            '
 13         10. The vehicle was delivered to Plaintiff with serious defects and nonconformities to warranty
 14 and developed other serious defects and nonconfonnities to warranty including, but not limited to,
 .15    engine,exterior, HVAC,brakes, steering,interior, and electrical system defects.
 16         11. Plaintiffhereby revokes acceptance ofthe sales contract.
 17         12.Pursuant to the Song-Beverly Consumer Warranty Act(herein after the "Act") Civil Code
 18 sections 1790 etseq. the subject vehicle constitutes "consumer goods" used primarily for family or
 19 household purposes,and Plaintiff has used the vehicle primarily for those purposes.
 20         13. Plaintiffis a "buyer" ofconsumer goods under the Act.
 21         14. Defendant BMW LLC is a "manufacturer" and/or "distributor" under the Act.
 22         15. , Plaintiff hereby demands trial byjury in this action.
 23
 24                                         FIRST CAUSE OF ACTION
 25                      Violation of the Song-Beverly Act — Breach of Express Warranty
 26         16. Plaintiff incorporates herein by reference each and every allegation contained in the
 27 preceding and succeeding paragraphs as though herein fully restated and re-alleged.                  ,
 28

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                                                  COMPLMNT
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 7 of 36 Page ID #:16




            17. Express warranties accompanied the sale of the vehicle to Plaintiff by which BMW LLC
  2 undertook to preserve or maintain the utility or performance of Plaintiff's vehicle or to provide
  3 compensation ifthere was a failure in such utility or performance.
  4         18. The vehicle was delivered to Plaintiff with serious defects and nonconformities to warranty
  5     and developed other serious defects and nonconformities to warranty including, but not limited to,
  6 engine, exterior,HVAC,brakes,steering,interior, and electrical system defects.
  7         19.Pursuant to the Song-Beverly Consumer Warranty Act (herein after the "Act") Civil Code
  8     sections 1790 et seq. the vehicle constitutes "consumer goods" used primarily for family or
  9     household purposes,and Plaintiff has used the vehicle priMarily for those purposes.
 10        20. Plaintiffis the "buyer" ofconsumer goods under the Act. '
 11        21, Defendant BMW LLC is a "manufacturer" and/or "distributor" under the Act.
  12.      22. The foregoing defects and nonconformities to warranty manifested themselves within the
 13 applicable express warranty period. The nonconformities substantially impair the use, value and/or
 14 safety ofthe vehicle.
 15        23. Plaintiff delivered the vehicle to an authorized BMW LLC repair facility for repair ofthe
 16 nonconformities.
 17        24. Defendant was unable to conform Plaintiff's vehicle to the applicable express after a
 18 reasonable number ofrepair attempts.
 19        25. Notwithstanding Plaintiff's entitlement,Defendant BMW LLC has failed to either promptly
 20 replace the new motor vehicle or to promptly make restitution in accordance with the Song-Beverly
 21     Act
 22        26.By failure of Defendant to remedy the defects as alleged above, or to issue a refund or
 23 replacement vehicle, Defendant is in breach ofits obligations under the Song-Beverly Act.
 24        27. Under the Act,Plaintiffis entitled to reimbursement ofthe price paid for the vehicle less that
 25     amount directly attributable to use by the Plaintiffprior to discovery ofthe nonconfonnities.
 26        28. Plaintiff is entitled to all incidental, consequential, and general damages resulting from
 27 Defendant's failure to comply with its obligations under the Song-Beverly Act
 28        29.Plaintiff is entitled under the Song-Beverly Act to recover as part of the judgment a sum

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                                                  COMPLAINT
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 8 of 36 Page ID #:17




      equal to the aggregate amount ofcosts and expenses,including attorney's fees, reasonably incurred
  2 in connection with the commencement and prosecution ofthis action.
         30. Plaintiff is entitled in addition to the amounts recovered, a civil penalty of up to two times
  4 the amount of actual damages for BMW LLC's willful failure to comply with its responsibilities
  5   under the Act.
 6
  7                                     SECOND CAUSE OF ACTION
  8                    Violation ofthe Song-Beverly Act Breach ofImplied Warranty
 9       31. Plaintiff incorporates herein by reference each and every allegation contained in the
 10   preceding and succeeding paragraphs as though herein fully restated and re-alleged.
 11      32.BMW LLC and its authorized dealership at which Plaintiffpurchased the subject vehicle had
 12 reason to know the purpose ofthe subject vehicle atthe time ofsale ofthe subject vehicle: The sale
 13   ofthe subject vehicle was accompanied by an implied warranty offitness.
 14      33. The sale of the subject vehicle was accompanied by an implied warranty that the subject
 15   vehicle was merchantable pursuant to Civil Code section 1792.      .
 16      34.The subject vehicle was not fit for the ordinary purpose for which such goods are used
 17 because it was equipped with a defective engine, exterior, HVAC, brakes, steering, interior, and
18    electrical system.
 19      35. The subject vehicle did not measure up to the promises or facts stated on the container or
20 label because it was equipped with a defective engine, exterior, HVAC,brakes, steering, interior,
21    and electrical system.
22       36. The subject vehicle was not of the same quality as those generally acceptable in the trade
23    because it was equipped with a defective engine, exterior, HVAC, brakes, steering, interior, and
24 electrical system.
25       37. Plaintiffis entitled to justifiably revoke acceptance ofthe subject vehicle under Civil Code,
26 section 1794,.etseq;
27       38. Plaintiffhereby revokes acceptance ofthe subject vehicle.
28       39.Plaintiffis entitled to replacement or reimbursement pursuantto Civil Code,section 1794,et

                                                   -5-
                                               COMPLAINT
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 9 of 36 Page ID #:18




   1   seq.
  2        40.Plaintiffis entitled to rescission ofthe contract pursuant to Civil Code,section 1794,et seq.
  3 and Commercial Code,section 2711.
  4        41. Plaintiffis entitled to recover any"cover" damages under Commercial Code,sections 2711,
  5 2712,and Civil Code,section 1794,et seq.
  6        42. Plaintiff is entitled to recover all incidental and consequential damages pursuant to 1794 et
  7 seq and Commercial Code,sections 2711,2712,and 2713 et seq.
  8
  9                                      THIRD CAUSE OF ACTION
 10                                Violation ofthe Song-Beverly Act Section 1793.2
          43. Plaintiff incorporates herein by reference each and every allegation contained in the
 12
       preceding and succeeding paragraphs es though herein fully restated and re-alleged.
 13
          44. Pursuant to Civil Code,section 1793.2, subdivision (a) a manufacturer that sells consumer
 14
       goods in California, for which it has made an express warranty, shall maintain service and repair
 15
       facilities or designate and authorize independent service and repair facilities to carry out the terms
 16
       ofthose warranties,
 17
          45.Puisuimt to Civil Code,section 1793.2,subdivision (b), when service and repair of goods is
 18
       necessary because they do not conform with the applicable express warranties, service and repair
 19
       shall be commenced within a reasonable time by the manufacturer or its representative.
 20
 21       46. Civil Code, section 1793.2, subdivision (b) further states that goods shall be serviced or

 22 repaired so as to conform to the applicable warranties within 30 days.
 23     47. The sale ofthe subject vehicle was accompanied by express warranties,including a warranty

 24 guaranteeing that the subject vehicle was safe to drive and not equipped with defective parts,
 25 including the engine,exterior,HVAC,brakes, steering, interior, and electrical system.
 26       48. Plaintiff delivered the subject vehicle to BMW ILC's authorized service representative(s),
 27 McKenna BMW and New Century BMW,on multiple occasions. The subject vehicle was delivered
 28 for repairs of the transmission and engine, which amount to a nonconformity to the express

                                                     -6-
                                                 COMPLAINT
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 10 of 36 Page ID #:19




   1   warranties that accompanied•the sale of the subject vehicle.
   2       49. Since delivery ofthe subject vehicle to McKenna BMW and New Century BMW,over thirty
   3   days have past and BMW LLC,McKenna BMW and New Century BMW have failed to tender the
   4
       subject vehicle back to Plaintiffin conformance with its warranties.
   5       50.   Plaintiffis entitled to justifiably revoke acceptance ofthe subject vehicle under Civil
   6   Code,section 1794,etseq;
   7       51.   Plaintiff hereby revokes acceptance ofthe subject vehicle.
   8       52.   Plaintiffis entitled to replacement or reimbursement pursuant to Civil Code,section
   9   1794, etseq.
  10       53.   Plaintiffis entitled to rescission ofthe contract pursuant to Civil Code section 1794,et
  11   seq. and Commercial Code,section 2711.
  12      54.    Plaintiffis entitled to recover any"cove?'damages under Commercial Code sections
  13 2711,2712,and Civil Code,section 1794,etseq.
  14    55. Plaintiff is entitled to recover all incidental and consequential damages pursuant to 1794
  15 etseq and Commercial Code sections,2711,2712,and 2713 et seq.
  16    56,Plaintiffis entitled in addition to the amounts recovered,a civil penalty ofup to two times
  17 the amount ofactual damages in that BMW LLC has willfully failed to comply with its
  18 responsibilities under the Act.
  19
 20                                        PRAYER FOR RELIEF
 21       WHEREFORE,Plaintiffprays forjudgment against Defendant(s),as follows:
 22       1. For general, special and actual damages according to proofat trial;
 23       2. For rescission ofthe purchase contract and restitution ofall monies expended;
 .24      3. For diminution in value;
 25       4. For incidental and consequential damages according to proofat trial;
 26       5. For civil penalty in the amount oftwo times Plaintiffs actual damages;
 27       6. For prejudgment interest at the legal rate;
 28       7. For reasonable attorney's fees and costs.ofsuit; and
                                                    -7-
                                                COMPLAINT
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 11 of 36 Page ID #:20
                                                    •   •••   ..••••••• •   IT.   ••••••••• mow




   1     8. For such other and further reliefas the Courtdeemsjust and proper under the circumstances.
   2
   3 Dated: April      2017                                     .           KNIGHT                W   UP,LLP
  4
   5
  6                                                                         STE r u OV(SBN 224676)
  7                                                                         Attorneys for Plainta
                                                                            LORENA GODINEZ
  8
  9
  10
          Plaintiff, LORENA GODINEZ,hereby demands trial byjury in this action.
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                                             COMPLAINT •
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 12 of 36 Page ID #:21




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        KNIGHT LAW GROUP,LLP                                                              ORIGINAL FILE
     1 Steve Mikhov(SBN 224676)                                                        Superior Court of Call Drill
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        Los Angeles,CA 90067                                                                         APR 1 8 znii
     3 Telephone:(310)552-2250
                                                                                  Sherri R. Carter, Executive tat cer/Clerk
     4 Fax:(310)552-7973                                                                   , By: Judi Lora, Repul
    5    Attorneys for Plaintiff"
         LORENA GODINEZ
    6                                    SUPERIOR COURT OF CALIFORNIA
    7
                                            COUNTY OF LOS ANGELES
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    9                                                                         8C 6 88 288
         LORENA GODINEZ,                                 Case No.:
    10
                        Plaintiff,                       Unlimited Jurisdiction
    11
                                                         DEMAND FOR JURY TRIAL
    12          vs.

    13 BMW of North America,LLC,a Delaware                Assignedfor AllPurposes to the
                                                          Honorable
    14 Limited Liability Company, MCKENNA
       MOTOR COMPANY,INC.,a California
    15 Corporation, d/b/a MCKENNA BMW,and                Department
       DOES 1 through 10, inclusive,
    16
    17               Defendants.

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                                     •DEMAND FOR JURY TRIAL
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                Plaintiff, LORENA GODINEZ,hereby demands trial by jury in this action.
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         Dated: April 11 2017                                   KNIG                  ROM',LLP
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                                                                S   E MIKHOV(SBN 224676)
   26                                                           A meys for Plaintiff;
                                                                LORENA GODINEZ
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                                            DEMAND FOR JURY TRIAL
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 16 of 36 Page ID #:25

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      ATTORNEY OR PARTY IMTNOITT ATTORNEY(Wm Redo Bar Dona«,isEEESSuE:                                                  FOR COURT USE ONLY
    "". Steve Mikhov (SBN 224676)                                                                                        CONFORMED COPY
          Knight Law Group,LLP                                                                                               ORIGINAL FILED
           1801 Century Park East, Suite 2300,Los Angeles,CA 0067                                                      Superior Court of California
              TEEPNONE mu (310)552-2250                       mu mu (310)552-7973                                          County at Lns Anoeles
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    SUPERIOR CCU RT OF CALIFORNIA,COUNTY OF LOS Angeles                                                                           APR 10 2017
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            himuuomonrarn I 1 1 North Hill Street                                                                                                 010Cer/Llark
           artANDzipcox: Los Angeles,CA 90012                                                                     Sheryl R. Carter, Oregon
                                                                                                                               By: Judl Lera, Deputy
               mum mum Stanley Mosk Courthouse
        CASE NAME:             LORENA GODINEZ
      v.BMW ofNorth America,LLC,a Delaware Limited Liability Company,ct al,
            CIVIL CASE COVER SHEET                                Complex Case Designation                   CASE"nit BC 6
     C83 Unlimited               CI Limited                                                                                             C8 2 a R
             (Amount                   (Amount               CD Counter 0 Joinder
                                                                                                             JUDGE:
              demanded                 demanded la           Filed with first appearance by defendant
              exceeds $25,000) $25,000 or less)                 (Cal. Rules of Court, rule 3.402)              DEPT:

                                          Items 1-6 below must be completed(see instructions on page 2).
     1. Check one box below for the case type that best describes this case:
          Auto Tort                                        Contract                                  Provisionally Complex Civil Litigation
                                                         rig      Breach  of contrectAvarrtudy(OD)   (Cal. Rules of Court, rules 3.400-3.403)
         H      Auto(22)
                Uninsured materiel(46)
         Other PIIPDMI3(Personal Injury/Property
                                                          EJ Rub 3.740 collections(09)
                                                           C:1    Other collections (09)
                                                                                                    £ Antibustrfrede regulation(03)
                                                                                                     E3 Construction defect(10)
         DemageNVrangfut Death)Tort                       ID Insurance coverage(18)                  CDMass tort(40)
         CD Asbestos(04)                                  C3 Other contract       (37)               1=1    Securities litigation (28)

         H      Product liability(24)
                Medical malpractice(45)
         CD Other PliPO/WD(23)
                                                           Real Property
                                                          EJ Eminent demaiNInverse
                                                                 condemnation(14)
                                                                                                    0 Erwiranmentafroxio tort(30)
                                                                                                     EJ Insurance coverage claims arising From the
                                                                                                            above listed provisionally complex case
                                                                                                            types(41)
          Non•PUPD/WD(Other)Tort                                 Wrongful eviction (33)
                                                                                      (26)           Enforcement of Judgment
         1
        :3      Business Ion/unfair business practice(07) EJ Other real property
                Civilrights(ON.                             Mawful Detainer                       El        Enforcement of Judgment(20)
                Defamation (13)                                  Commercial     (31)                 Miscellaneous   Civil Complaint
                Fraud(18)                                        Residential(32)                     11:3 RICO(27)
                                                          CD Drugs(38)                               El Other complaint(not specified above)(42)
         EJ     Intellectual property(19)
                Pro fessional  negligence
         C:1 Other non-PIIPDAAD tort(35)
                                         (25)             Judicial  Review
                                                          IM Asset forfeiture(05)
                                                                                                     Miscellaneous Civil Petition
                                                                                                     ED Partnership and corporate governance(21)
        gloynitint                                        1=1 Petition re:arbitration award(11) 0Other Willful(net spaciliad above)(43)
                Wrongful termination (313)               0 Writ of mandate 02)
                Other employment 15)                    JJ OtherjedIclal review(39)
    2. This case 1__i is                  is not complex under rule 3,400 Of the'California Rules of Court. If the case is complex, mark the
          factors requiring excaptlimat judicial management:
          a.ED Large number ofseparately represented parties                   d.EJ Lame number of witnesses
        .b. El Extensive motion practice raising difficult or novel e.           0Coordination with related actions pending In one or more ovate
                    Issues that will be time-consuming to resolve                      In other counties,states, or countries, or in a federal court
           El
          c.        Substantial amount of documentary evidence                 f,      Substantial postjudgment judicial supervision
    3.   Remedies sought(check ell that apply): a.21 monetary KO nonmonetary; declaratory or injunctive relief                        C. ppunitive
    4.   Numbeiof causes of action (specie 3
    5.   This case 0is Msnot a 01888 action suit.                                           I 1 i
    B.   If the era any known related cases, file and serve a notice of related case.(You m:   ,A -016,)                                              .•':
    Date: 12 1-"ti kg"'
    SteveMikhov
           .                 «Yee OR PRINT NAM
                                                                          NOTICE
                                                                                   >                  diirr. • PARTY OR ATTORNEYFOR PARTY)


     • Plaintiff must file this cover sheet vdth the first paper flied in the action or prom.- (except small claims cases or cases filed
         under the Probate Code, Family Code,or Welfare and institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
        in sanctions.
     • File this cover sheet in addition to any cover sheet required by local court rule.
     • If this case is complex under rule 3.400 et seq.of the California Rules of Court, you must serve a copy of this cover sheet on all
        other parties to the action or proceeding.            •
     • Unless this is a ooltectIone case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only,   Filed 02
    Form Adaptad kit innegro teta                                                                         Fianaltoun.rugs   s0.a17a ano.a.d03,3,74e
      MINN Cowell of commis
                                                         CIVIL CASE COVER SHEET                             Cd Standard» anudIdd Ad/rink:101cm 04.110
      OM•010Fey.Jay 1,2004                                                                                                         Sinw.es~agpv
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 17 of 36 Page ID #:26



                                                                                                                                       CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
   To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) In a civil case, you must
   complete end file, along with your first paper,the Civil Case Cover Sheet contained on page 1. This Information will be used to compile
   statistics about the types and numbers of cases filed. You must complete items 1 through t3 on the sheet In item 1, you must check
   one box for the case type that best describes the case. If the case fits both a general end a more specific type of case listed In item 1,
   check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
  To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
  sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
   its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
  To Parties In Rule 3.740 Collections Cases. A 'collections case" under rule 3.740 is defined as an action for recovery of money
  owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction In
  which property, services, or money was acquired on credit A collections case does not Include an action seeking the following:(1)tort
  damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
  attachment The identification of a case as a rule 3.7400ollections case on this form means that it will be exempt from the general
  time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
  case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
  To Parties In Complex Cases. In complex cases only, parties must also use the Mil Case Cover Sheet to designate whether the
  case is complex. If a plaintiff believes the case Is complex under rule 3.400 of the California Rules of Court, this must be indicated by
  completing the appropriate boxes in items 1 and 2. II a plaintiff designates a case as complex, the cover sheet must be served with the
  complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder In the
  plaintiffs designation, a counter-designation that the case is not coniptex, or, if the plaintiff has made no designation, a designation that
  the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
      Auto(22)-Personal Injury/Property               Breach of Contract/Warranty(08)               Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                           Breach of RentallLease                        Antitrust/Trade Regulation(03)
      Uninsured Motorist(48)(Ifthe                              Contract(not unlawful detainer           Construction Defect(10)
           case involves an uninsured                              or wrongfulevictkm)                   Claims Involving Mass Tort(40)
           motoristcalm subject to                         ContractNYarrariV Breach-Seller               Securities Litigation (28)
           arbltrathan, check this Rem                         Plaintiff(notfraud ornegligence)          ErwIronmentaVTrecia Tort(30)
          Instead ofAuto)                                  Negligent Breach ofContract/                  Insurance Coverage Claims
 Other PUPDIWD(Personal Injury/                                 Warranty                                    ( erfilngfrom provIsionaOy complex
 Property Damage Wrongful Death)                           Other Breach ofContract/Waminty                   case type listed above)(41)
 Tort •                                               Collections(e.g., money owed,open              Enforcement of Judgment
     Asbestos(04)                                          book accounts)(09)                            Enforcement ofJudgment(20)
          Asbestos Property Damage                         Collection Case-Seller Plaintiff                  Abstract ofJudgment(Out of
          Asbestos Personal injury/                        Other Promissory Note/CollectIons                     Courtly)
                Vitrongfirl Death                              Case                                          Confession of Judgment(non-
     Product Liability(notasbestos or                 insurance Coverage(nOtprovisionally                        domes*reladons)
          Toxicletnrfrotunentab(24)                        complex)(15)                                      Sister State Judgment
     Medical Malpractice(46)                               Auto Subrogation                                  Administrative Agency Award
          Medical M elpractice-                            Other Coverage                                      (not unpaid taxes)
                Physicians & Surgeons                 Other Contract(37)                                     Petition/Certification of Entry of
          Other Professional Health Care                   Contractual Fraud                                    Judgment on Unpaid Taxes
                Malpractice                                Other Contract Dispute                            Other Enforcement of Judgment
                                                  Real Property                                                  CA80
     Other PUPDAND(23)
          Premises Liability (e.g., slip              Eminent Domalnfinvame                          Miscellanactue Civil Complaint
                and fall)                                 Condemnation(14)                              RICO(27)
          Intentional Bodily Injury/POMO              Wrongful Eviction (33)                            Other Complaint(notspecified
              (e.g., assault, vandalism)                                                                    above)(42)
                                                      Other Real Property(e.g., quiet title)(28)            Declaratory Relief Only
          Intentional infliction of                       Wit of Possession of Real Property                injunctive Relief Only(non-
                Emotional Distress                         Mortgage Foreclosure                                  harassment)
          Negligent Infliction at                         Quiet Title
                Emotional Distress                                                                          Mechanics Lien
                                                          Other Real Property(noteminent                    Other Commercial Complaint
          Other PUPDIWD                                   &unpin,landllerbtenant or
 Non-PUPDIWD(Other)Tort                                   toredoiae)
                                                                 s                                               Case (non-tortreon.comptex)
                                                                                                            Other Civil Complaint
     Business Tort/Unfair Business                Unlawful Detainer                                           (non-tortkon.complex)
        Practice(07)                                  Commercial(31)                                 Miscellaneous Civil Petition
     Civil Rights(e.g., dtscrlmtnation,               Residential(32)                                   Partnership and Corporate
         false arrest)(not &II                        Drugs(38)(ifthe case Invorvea fflaget                 Governance(21)
          hwnssment)(05)                                  drugs, chock this Item;otherwise,             Other Petition (not epeclifed
     Defamation (e.g.,slander, Ilbel)                     report es CommercialorResldentlaq                 above)(43)
         (13)                                     Judicial Review                                           Civil Harassment
     Freud(18)                                        Asset Forfeiture(05)                                  Workplace Violence
     Intellectual Property(19)                        Petition Re:Arbitration AWard (11)                    Elder/Dependent Adult
    Professional Negligence(25)                       Writ of Mandate(02)                                        Abuse
         Legal Malpractice                                Wilt-Administrative Mandamus                      Prtslion Contest
         Other Professional Malpractice                   Writ-Mandamus on Limited Court                    Petition for Name Change
            (not medicalorlegal)                              Case Matter                                   Petition for Relief From Late
     Other Non-Pi/POMO Tort(35)                           Writ-Other Limited Court Case                          Claim
 Employment                                                   Review                                        Other Civil Petition
     Wrongful TerminatIon (35)                        Other Judicial Review(39)
    Other Employment(15)                                  Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                              Commissioner Appeals
 C.0.44110(Rev, Jay 1,2557)                                                                                                            Page 2
                                                     CIVIL CASE COVER SHEET
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 18 of 36 Page ID #:27

                                                                                               111.•••••••••••    • •




   SNORT'MU:                                                                                                               CASE NUMUR
              GODINEZ v. BMW of North America, LLC, et al.                                            •
                                                                                                                                        BC 6 58        23
                            CIVIL CASE COVER SHEET ADDENDUM AND
                                    STATEMENT OF LOCATION
             (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
         This form is required pursuant to Local Rule 2,0 In all new civil case filings In the Los Angeles Superior Court,

    Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:
      JURY TRIAL? K YES CLASS ACTION? ED                          YES LIMITED CASE?             OYES                    Time ESTIMATED FOR TRIAL 5           CL40URS/.0 CAVA

    Item II. Indicate the correct district and courthouse location (4 steps — If you checked limited Case", skip to Item Ili, Pg. 4):

      Step 1: After first completing the Civil Case Cover Sheet form,find the main Civil Case Cover Sheet heading for your
      case in the left margin below, and,to the right In Column A,the Civil Case Cover Sheet case type you selected.

     Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this Case.

     Step 3: In Column C,circle the reason for the court location choice that applies to the type of action you have
     checked. For any.exception to the court location, see Local Rule 2.0.
                              Applicable Reasons for Choosing Courthouse Location (see Column C below)
      1. Class actions must be filed In the Stanley Mosk Courthouse,central district.                             S. Location of property or permanently garaged vehicle.
      2. May be Wed in central(other county, or no bodily Injury/property damage).                                7. Location where.pelitioner realdes.
      3. Location where caube of action arose.                                                                    8. Location wherein defendanVrespondent functions wholly.
      4. Location where bodily Injury. death or darneee                                                           9. Location where one or more of the oodles reside.
      5. Location where performance required or deMndIrrrreeetries.                                              10. Location of tabor Commissioner Office


     Step 4: Fill in the information requested on page 4 in Item III; complete Item IV. Sign the declaration., • •

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              1                       •.                                         4?          _ 4.2,.-•                  't;:,..--, ,-..kg-if"                     :
                                                                                                                                                                  40:T&:..

                             Auto(22)                   0 A7100 Motor Vehicle - Personal MNry/Proporty Demage/VVrongful Death                                1., 2.,4.

                    Uninsured Motorist(40)              0 A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist                          1., 2.,4,
                                                                                                                                                         T
                                                        0 A5070 Asbestos Property Damage                                                                     2.
                           Asbestos(04)
                                                        0 A7221 Asbestos•Personal Injury/Wrongful Death                                                      2.

                        Product liability(24)           0 A7280 Product Liability(not asbestos or torddenvironmentat)                                        1., 2., 3..4„8.

                                                         O A7210 Medical Malpractice -Physicians & Surgeons                                                  1.,4.
                   Medical Malpractice(45)
                                                        0 A7240 Other Professional Health Care Malpractice                                                   1.,4.

                                                        0 A7250 Premises liability(e,g„ ellp and fel))                                                       1.,4.
                              Other
                          Personal triply               Cl A7230 Intentional Soddy Nary/Property Damage/Wrongful Death (e,g.,                                1.,4..
                         Property Damage                         assault, vandalism,etc)
                          Wrongful Death                                                                                                                     1., 3.
                                                        0 A7270 Intentional Infliction of Emotional Distress
                              (23)                                                                                                                           1„4.
                                                        0 A7220 Other Personal injury/Property DarnageMnongful Death



   I.ACIV 109(Rev. 03111)                               CIVIL CASE COVER SHEET ADDENDUM                                                                Local Rule 2.0
   1..ASC Approved 03-04                                   AND STATEMENT OF LOCATION                                                                      Page 1 oF4
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 19 of 36 Page ID #:28
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  SHORT TITLE                                                                                                                  - CASE mumaiR
                GODINEZ v. BMW of North America, LLC, et al.
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                                    4 .1.•     ''''   ,.?     r../1 . t.             I    .                 .•             k                                                  , .                      •
                      Business Tort(07)                        0 A8029 Other Commerdalfflusiness Tort(notfraudlbreach of contract)                                            •           1„ 3,

                       Civil Rights(08)                        0 A6005 Civil Rights/Discrimination                                                                                        1., 2„ 3.
                                                               -
                       Defamation(13)                          0 A6010 Defamation(slandefillbeg                                                                                           1:, 2., 3.

                          Fraud(18)                            0 A801.3 Fraud(no contract)                                                                                                1., 2., 3.

                                                               0 A8017 Legal Malpractice                                                                                                  1., 2., 3.
                 Professional Negligence(25)
                                                               0 A8050 Other Professional Malpractice(not medical or legal)                                          .                1., 2., 3.

                          Other(35)                            0 A8025 Other Non-Personal Injury/Properly Damage tort                                                                 2,3.

                  Wrongful Termination(38)                     0 A8037 Wrongful Termination                  '                                                                            I.,Z,3.

                                                              0 A8024 Other Employment Complaint Case                                                                                 1., 2,3.
                    Other Employment(15)
                                                              0 A6109 Labor Commissioner Appeals                                                                                      10.

                                                              0 A6004 Breach of Rental/Lease Contract(not unlawful detainer or wmngful                                                2., 5.
                                                                      eviction)
                 Breach ofCrarranty                                                                                                                                                   2., 5.
                           (08)       53 A5008 ContracUWananty Breach -Seiler Plaintiff(no fraud/nagilgence)
                      (not Insurance) 0 A5019 Negligent Breach of Contract/Warranty(no fraud)                                                                                         1..2,5.

                                                               Cl A8028 Other Broach of ContracUVVarranty(hotfraud or negligence)                                                     1., 2.,5.

                                                               D M002 Collet/Jens Case-Seiler Pialntiff                                                                              2.,6., 6..
                       Collections(09)
                                                              0 A6012 Other Promissory Nadi/Collections Case                                                                         2.,6.

                   Insurance Coverage(18)                     0 A6015 insurance Coverage(not complex) ,                                                                              1., 2.,5., 8.

                                                              0 A6009 Contractual Fraud                                                                                              1., 2., 3.,5.
                     Other Contract(37)                       0 A6031 Tortious.interference                                                                                          1., 2., 3.,6.
                                                              0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)                                                  1., 2.. 3., 8.

                   Eminent DunlaInnnvenle                     0 A7300 Eminent Domain/Condemnation
                     Condemnation(14)                                                                                                Mutter of parcels'                              2.

     ffi           Wrongful Eviction(33)                      0 A6023 Wrongful Eviction Case                                                                                         2.,8.

                                                              0 A5618 Mortgage Foreclosure                                               2.,6.
                  Other Real Properly(28)                     0 M032 Quiet Title                                                         2.,6.
                                                              D A50130 Maritsa'Property(not eminent domain,tandiordltonant, foreclosure) 2.,6.

                Unlawful Detainer-Camnalfula/ 0 A6021 Unlawful Detainer-Conunerdel(not drugs or wrongful evioll9n)                                                                  2.,8.
                            (31)
                Unlawful Datainer-Resitiontial 0 A5020
                                                       Unlawful Detalher-ResIdantial(not drugs or wrongful eviction)                                                                2.,8.
                           (32)
                    Unlawful Detainer-
                   Post-Foctosure
                         re        (34)                       0 A8020FUnlawful DelEllnar-Post-Feredelarre                                                                           2.,8.

                Unlawful Detainer-Drugs(38) D A8022 Unlawful Detainer-Drugs                                                                                                         2.,6.
                                           _.


  LAW 109(Rev.03/11)                                        CIVIL CASE COVER SHEET ADDENDUM '                                                                                     Local Rule 2.0
  LASC APPrOved 03-04                                          AND STATEMENT OF LOCATION                                                                                             Page 2 of 4
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 20 of 36 Page ID #:29
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  SNORT TITLE                                                                                                               CASE MUMMER
                                       GODINEZ v. BMW of North America, LLC,et al.

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                                              Asset Forfeiture(08)         D A8108 Asset Forfeiture Case                                               2., O.
         Judicial Review




                                          Petition re Arbitration(11)      0 A8115 Petition to Compel/ConfirrnMecate Arbitration                       2.,6.

                                                                           0 A8161 Writ - Administrative Mandamus                                      2.,8.
                                              Writ of Mandate(02)          0 A8152 Writ - Mandamus on Limited Court Case Matter                        2.
                                                                           O A8153 Witt - Other limited Court Case Review                              2.

                                         Other Judicial Review(39)         0 A8160 Other Writ Magid& Review                                            2,,8.

                                        Anttust/Trade Regulation(03) 0 A8003 Antitrust/Trade Regulation                                                1., 2., 8.
      Provisionally Complex Udgation




                                          Construction Defect(10)          0 A8007 Construction Defect                                        '        1., 2„ 3.

                                         Claims Invohring Mass Tort
                                                   (40)                   0 A8006 Claims Involving Mess Tart                                           1., 2., B.

                                          Securities litigation(28)       0 A8035 Securities Uligalion Case                                            1., 2., 8.

                                                  Toxic Tort
                                              Environmental(30)           0 A5038 Toxio Tort/Environmental                                             1., 2., 3., 8.

                                         Insurance Cmarage Claims         0 A8014 insurance Cove:ago/Subrogation(complex case(frith                    1., 2., 5.,8.
                                           from Complex Casa(41)

                                                                          0 A6141 Sister State Judgment •                                         '   2„ 9.
   E                                                                  .   CI A8180 Abstract of Judgment                                               2., G.
   E                                             Enforcentent             0 A6107 Confession of Judgment(nort•dornestio relations)                    2., 9.
                                               ofJudgment(20)             0 A8140 Administrative Agency Award (not unpaid taxes)                      2.,8.
                                                                          0 A6114 PetitIon/Certificate for Entry ofJudgment on Unpaid Tax             2.,8,
                                                                          13 A8112 Other Enforcement of Judgment Case                                 2., 8.,9.

                                                  RICO(27)                0 A8033. Racketeering(RICO)Case                                             1.1 2.,8.

                                          •                               0 A6030 Declaratory Relief Only       .                                     1,1 2., 8.
                                            Other Complaints              0 A8040 Injunctive Relief Only(not domestic/harassment)                     2.,8.
                                        (Not Specified Above)(42) 0 A8011 Other Commercial Complaint Case(non-torVnomeomplex)                         1.,2„ 8.
                                                                          CI A8000 Other Civil Complaint(non-tor1/non•compleog                        1., 2., 8.

                                         Partnership Corporation
                                         , Governance(21)                 0 A8113 Partnership and Corporate Governance Case                           2„ O.

                                                                          0 A8121 Civil Harassment                                                    2„ 3., 9.
                                                                          0 A8123 Workplace Harassment                                                2.,3., 9,
                                                    •
                                                                          0 A8124 Elder/Depandent Adult Abuse Case                                    2., 3., 9.
                                            Other Petitions
                                         (Not Specified Above)            0 A8190 Election Contest                                                    2.
                                                 (43)
                                                                          Cl A8110 Petition for Change of Name .                                      Z,7.
                                                                          0 A8170 Petition for Relief from Late Claim Law                             2,, 3., 4.,8.
                                                                          0 A810D Other Civil Petition                                                2„ 9.




 LACIV 109(Rev.03/11)                                                   CIVIL CASE COVER SHEET ADDENDUM                                           Local Rule 2,0
 LASC Approved 03-04                                                       AND STATEMENT OF LOCATION                                                  Page 3 oi4
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 21 of 36 Page ID #:30




 SHORT TITLe                                                                                 CAGE!EMBER
               GOD1NEZ v.,BMW of North America, LLC,et al.


  Item III. Statementof Location: Enterthe address ofthe accident, party's residence or place of business,performance,or other
  circumstance indicated in Item IL, Step 3 on Page 1, as the proper reason for filing in the court location you selected.

                                                                     ADDRESS:
   REASON: Chock the appropriate boxes for tho numbers shown         10900 Firestone Blvd.
   under Column C forthe type of action that you have selected for
   Ulla case.

      ,01.02.03.04.05.06.07.08. 09.010.
   orn                                     arm         zrP CODE:
  Norwalk                                  CA         801350


 Item IV. Declaration ofAssignment. I declare under penalty of perjury under the laws ofthe State of California that the foregoing is true
 and correct and that the above-entitled matter Is property lied for assignment to the Stanley Mosk                   courthouse In the
  Central                 District of the Superior Court of California, County ofLos Angeles(C           Proc.,§  392  et seq., and Local
 Rule 2.0, subds.(b),(c)and (d)1.




 Dated:        Lki\elkvY                                                             (SIENA       • ATTORNEY/MIRO PARTV)




 PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
 COMMENCE YOUR NEW COURT CASE:
      1. Original Complaint or Petition,
      2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
      3. Civil Case Cover Sheet, Judicial Council form CM-010.
     4, Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04(Rev.
        03/11).
     5. Payment in full of the filing fee, unless fees have been waived.
     6. A signed order appointing the Guardian ad titan, Judicial Council form CIV-010,if the plaintiff or petitioner is a
        minor under 18 years of age will be required by Court in order to issue a summons.
     7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
        must be served along with the summons and complaint, or other initiating pleading In the case.




 LACIV 109(Rev.03/11)                    CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.0
 LASC Approved 03.04                        AND STATEMENT OF LOCATION                                                      Page 4 of 4
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 22 of 36 Page ID #:31


                                       SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                 NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE(NON-CLASS ACTION)
                                      Cue Number
                                                                                                                RC 6 58 238
                                 THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
     Your case Is assigned for all purposes to the judge indicated below. There is more information on the reverse side of this form.

         ASSIGNED JUDGE                    DEPT        ROOM             ASSIGNED JUDGE                       DEPT        ROOM

NI      Hon.Debre K. Weintraub          ME=                             Hon.Elizabeth Allen White

                                                                        Hon. Deirdre Hill
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        Hon. Barbara A. Meters                           636
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111.     Hon.Terry A.Green              MI               300            Hon.Teresa A. Beaudet

                                                                        Hon. Michael J. Raphael
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         Hon.Richard Fruin              ME               307

         lion. Rita Miller                   16          306            Hon.Susan Bryant-Deason                52          510


El       Hon. Richard E. Rico           IIIII            309            Hon.Howard L. Halm                     53          513


IIII     Hon.Stephanie Bowick
                                             19     ME
                                                                        Hon. Ernest M. Hiroshige               54          512


11111    Hon. Dania Corral Lyons             20      310                Hon. Malcolm H. Mackey                 55          515


al       Hon.Robert L.Hess              MOM                             Hon. Michael Johnson                   56          514


1111     Hon.Yvette M.Palazuelos        EN               318

                                                         400
                                                                        Hon.John P.Doyle

                                                                        Hon.Gregory Keosian
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         Hon. Barbara Scheper                30

11111    Hon.Samantha Jessner           EMI              407            Hon. Michael L.Stern                   62          600


11111    Hon. Daniel S. Murphy          Ell              406            Hon. Mark Mooney                       68          617


IIII     lion. Michael P. Linfield      11:11            408

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                                                                        Hon. William F. Fahey

                                                                        Hon. Monica Bachner
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         Hon. Gregory Alarcon           11:11

1111     Hon. Marc Marmaro              Ell              413             Hon. Ruth Ann Kwan                                731


1111     Hon. Maureen Duffy-Lewis            38     Illa                 Hon. Rafael Ongkeko                   73          733


1111     Hon. Elizabeth Feffer        =ME

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                                                                         Han.Teresa Sanchez-Gordon

                                                                         Hon. Gail Ruderman Feuer
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         Hon.David Sotelo                    40

IIII Hon. Holly E.Kendig
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                                                                        'Provisionally Complex
                                                                                                               324       CCW

         Hon. Frederick C.Sheller            46           500           Non-class Action Cases
                                                                        Assignment is Pending                  3118      CCW
         Hon. Randolph Hummock               47           507           Complex Determination

 *Comdex

All non-class action cases designated as provisionally complex are forwarded to the Supervising Judge of the Complex Litigation Program
located in the Central Civil West Courthouse(600 S. Commonwealth Ave., Los Angeles 90005), for complex/non-complex determination
pursuant to Local Rule 3.3(k). This procedure is for the purpose of assessing whether or not the case is complex within the meaning of
California Rules of Court, rule 3.400. Depending on the outcome ofthat assessment, the case may be reassigned to one of the judges of the
Complex Litigation Program or reassigned randomly to a court In the Central District.

Given to the Plaintiff/Cross-Complainant/Attorney of Recd               1 8 21111,      S             TARTER,Executive Officer/Clerk

                                                                                                                             Deputy Clerk

 LACIV CCH 190(Rev.12/16)                         - NOTICE OF CASE ASSIGNMENT                                                    Page I of2
    WC Approved 05-06                                  UNLIMITED CIVIL CASE
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 23 of 36 Page ID #:32




                              INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES


The following critical provisions ofthe Chapter Three Rules, as applicable in the Central District, are summarized for your assistance.

APPLICATION

The Chapter Three Rules were effective January 1, 1994. They apply to all general civil cases.

PRIORITY OVER OTHER RULES

The Chapter Three Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TQASSIGNED JUDGE

A challenge under Code of Civil'Procedure section 170.6 must be made within 15 days after notice of assignment for all purposes to a
judge, or ifa party has not yet appeared, within 15 days ofthe first appearance.

TIME STANDARDS

Cases assigned to the Individual Calendaring Court will be subject to processing under the following time standards:

COMPLAINTS: All complaints shall be served within 60 days of filing and proof ofservice shall be filed within 90 days of filing.

CROSS-COMPLAINTS: Without leave ofcourt first being obtained, no cross-complaint may be filed by any party after their answer is
filed. Cross-complaints shall be served within 30 days ofthe filing date and a proofofservice filed within 60 days ofthe filing date.

A Status Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing ofthe complaint.
Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement, trial date, and expert
witnesses.

FINAL STATUS CONFERENCE

The Court will require the parties at a status conference not more than 10 days before the trial to have timely filed and served all motions
in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested jury instructions, and special jury
instructions and special jury verdicts. These matters may be heard and resolved at this conference. At least 5 days before this conference,
counsel must also have exchanged lists ofexhibits and witnesses and have submitted to the court a brief statement ofthe case to be read to
the jury panel as required by Chapter Eight ofthe Los Angeles Superior Court Rules.

SANCTIONS

The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court, and
time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party or Ifappropriate on
counsel for the party.

This is not a complete delineation of the Chapter Three Rules, and adherence only to the above provisions is therefore not a
guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and compliance with the
actual Chapter Rules is absolutely imperative.




  LACIV CCH 190(Rev.12/16)                         - NOTICE OF CASE ASSIGNMENT —                                              page 2of2
     LASC Approved 05-06                                UNLIMITED CIVIL CASE
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 24 of 36 Page ID #:33




                                  VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                    The Early Organizational Meeting Stipulation, Discovery
                                  Resolution Stipulation, and Motions in Limine Stipulation are
    Superior Cowl of California
    County of Los Angeles
                                  voluntary stipulations entered into by the parties. The parties
                                  may enter into one, two, or all three of the stipulations;

                        c_\
                                  however, they may not alter the stipulations as written,
                                  because the Court wants to ensure uniformity of application.
    Los Angelus County
    Bar Association               These stipulations are meant to encourage cooperation
    Litigation Section
    Los Angeles County
                                  between the parties and to assist in resolving issues in a
    Bar Association Labor and
    Employment Law Section        manner that promotes economic case resolution and Judicial
                                  efficiency.
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             O ra, Axplii
                                     The following organizations endorse the goal of
     Consumer Aftonwys
     Association of Los Angeles   promoting efficiency in litigation and ask that 'counsel
                                  consider using these stipulations as a voluntary way to
                                  promote communications and procedures among counsel
                                  and with the court to fairly resolve issues in their cases.

                                  *Los Angeles County Bar Association Litigation Section*
     Southern California
     Defense Counsel
                                           •Los Angeles County Bar Association
     0
     .011MW1WOW
                                           Labor and Employment Law Section*
                 WHO
     Association of
     Business Trial Lawyers           *Consumer Attorneys Association of Los Angeles+

                                           *Southern California Defense Counsel*

                                          *Association of Business Trial Lawyers*
     California Employment
     Lawyers Association
                                       *California Employment Lawyers Association*

        LACIV 230(NEW)
        LASC Approved 4-11
        For Optional Use
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 25 of 36 Page ID #:34




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            TELEPHONE NO.:                        FAX NO.(OptIonft
  E4. A1L ADDRESS(Optlanaly
     ATTORNEY FOR(Nan*
  SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:

  PLA1aT1FF:

  DEFENDANT:

                                                                                     CASE NuithElk
                   STIPULATION — DISCOVERY RESOLUTION

       This stipulation is Intended to provide a fast and informal resolution of discovery issues
       through limited paperwork and an informal conference with the Court to aid in the
       resolution of the issues.
       The parties agree that:

        1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
           the moving party first makes a written request for an Informal Discovery Conference pursuant
           to the terms of this stipulation.

       2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
          and determine whether it can be resolved informally. Nothing set forth herein will preclude a
          party from making a record at the conclusion of an Informal Discovery Conference, either
          orally or In writing.

       3. Following a reasonable and good faith attempt at an informal resolution of each Issue to be
          presented, a party may request an Informal Discovery Conference pursuant to the following
          procedures:

                 a. The party requesting the Informal Discovery Conference will:

                    i.    File a Request for Informal Discovery Conference with the clerk's office on the
                          approved form (copy attached) and deliver a courtesy, conformed copy to the
                          assigned department;

                    li.    Include a brief summary of the dispute and specify the relief requested; and

                   III.   Serve the opposing party pursuant to any authorized or agreed method of service
                          that ensures that the opposing party receives the Request for Informal Discovery
                          Conference no later than the next court day following the filing.

                 b. Any Answer to a Request for informal Discovery Conference must:

                    I.    Also be filed on the approved form (copy attached); .

                          Include a brief summary of why the requested relief should be denied;
       LACIV 038(new)
       LASC Approved 0411               STIPULATION — DISCOVERY RESOLUTION
       Par Optional Use                                                                                          Page I of3
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 26 of 36 Page ID #:35




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                    iii.   Be filed within two(2)court days of receipt of the Request; and

                    iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                           method of service that ensures that the opposing party receives the Answer no
                           later than the next court day following the filing.

           c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
              be accepted.

           d. If the Court has not granted or denied the Request for informal Discovery Conference
              within ten (10) days following the filing of the Request, then it shall be deemed to have
              been denied. If the Court acts on the Request, the parties will be notified whether the
              Request for Informal Discovery Conference has been granted or denied and, if granted,
              the date and time of the Informal Discovery Conference, which must be within twenty (20)
              days of the filing of the Request for Informal Discovery Conference.

           e. If the conference is not held within twenty (20) days of the filing of the Request for
              Informal Discovery Conference, unless extended by agreement of the parties and the
              Court, then the Request for the Informal Discovery Conference shall be deemed to have
              been denied at that time.

      4. If(a)the Court has denied a conference or(b) one of the time deadlines above has expired
         without the Court having acted or(c)the Informal Discovery Conference is concluded without
         resolving the dispute, then a party may file a discovery motion to address unresolved issues.

      5. The parties hereby further agree that the time for making a motion to compel or other
         discovery motion is tolled from the date of filing of the Request for Informal Discovery
         Conference until(a)the request Is denied or deemed denied or(b)twenty (20)days after the
         filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
         by Order of the Court.

           It Is the understanding and Intent of the parties that this stipulation shall, for each discovery
           dispute to which it applies, constitute a writing memorializing a "specific later date to which
           the propounding (or demanding or requesting] party and the responding party have agreed in
           writing,b within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
           2033.290(c).

      6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
         an order shortening time for a motion to be heard concerning discovery.

      7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
         terminate the stipulation.

      B. References to I'days° mean calendar days, unless otherwise noted. If the date for performing
         any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
         for performing that act shall be extended to the next Court day.



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      LASC Approved 04111            STIPULATION — DISCOVERY RESOLUTION
      For OptIone)Use                                                                             Page 2 of 3
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 27 of 36 Page ID #:36




     MORT TInt                                                        GAIIII IftflatElk




     The following parties stipulate:

     Date:
                   (TYPE OR PRINT NAME)                             (ATTORNEY FOR PLAINTIFF)
     Date:
                   (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
     Date:
                    (TypE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
     Date:
                                                      >
                   (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
     Date:
                                                      >
                    (TYPtOR PRINT NAME)                    (ATToRN EY FOR                          )
     Date:
                   (TYPE OR PRINT NAME)                    (ATTORNEY FOR                            1
     Date:
                                                      >
                   (TYPE OR PRINT NAME)                    (ATTORNEY FOR                           )




      LACIV 038(new)
      LASC Approved 04/11          STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                         Page 3ol3
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 28 of 36 Page ID #:37




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                                                                                                                  .fie Uwe




             TELEPHONE NO.:                          FAX NO,(0p110621):
    E-MAIL ADDRESS(OpUoneI):
       ATTORNEY FOR(Name):
   SUPERIOR COURT OF CALIFORNIA.COUNTY OF LOS ANGELES
   COURTHOUSE ADDRESS:

   PLAINTIFF:

   DEFENDANT:

                                                                                        CASE Nu/NIE/t
            STIPULATION — EARLY ORGANIZATIONAL MEETING

        This stipulation is intended to encourage cooperation among the parties at an early stage In
        the litigation and to assist the parties In efficient case resolution.
        The parties agree that:
         1. The parties commit to conduct an initial conference (in-person or via teleconference or via
            videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
            whether there can be agreementon the following:
                a. Are motions to challenge the pleadings necessary? If the Issue can be resolved by
                   amendment as of right, or if the Court would allow leave to amend, could an amended
                   complaint resolve most or all of the Issues a demurrer might otherwise raise? If so, the parties
                   agree to work through pleading Issues so that a demurrer need only raise issues they cannot
                   resolve. Is the Issue that the defendant seeks to raise amenable to resolution on demurrer, or
                   would some other type of motion be preferable? Could a voluntary targeted exchange of
                   documents or Information by any party cure an uncertainty In the pleadings?
                b. Initial mutual exchanges of documents at the 'tore" of the litigation. (For example, In an
                   employment case, the employment records, personnel file and documents relating to the
                   conduct in question could be considered °core.' In a personal Injury case, an incident or
                   police report, medical records, and repair or maintenance records could be considered
                   tore.');
             c. Exchange of names and contact Information of witnesses;
                d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                   indemnify or reimburse for payments made to satisfy a judgment;
             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case In a manner that preserves objections or privileges by agreement;
             f. Controlling Issues of law that, if resolved early, will promote efficiency and economy in other
                phases of the case. Also, when and how such issues can be presented to the Court;
             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal Issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
        LACIV 220(Rev 02/15)
        utsc Approved 04/11         STIPULATION — EARLY ORGANIZATIONAL MEETING
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Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 29 of 36 Page ID #:38




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               discussed in the "Alternative Dispute Resolution (ADR)Information Package" served with the
               complaint;
         h. Computation of damages, including documents, not privileged or protected from disclosure, on
            which such computation is based;
         I. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
            www.lacoort.ora under"Civr and then under "General Information").
    2.         The time for a defending party to respond to a complaint or cross-complaint will be extended
               to                           for the complaint, and                                for the cross-
                         (INSERT DATE)                                     (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code §68616(b),
               and the 30 days permitted by Code ofCivil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at wpw.lacouttom under "Civif,
               click on "General Information",then click on "Voluntary Efficient Litigation Stipulations".
    3.         The parties will prepare a Joint report titled "Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties'
               effident conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Cass Management Conference statement, and file the documents when the CMC
               statement is due.
    4.         References to'days" mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day
    The following parties stipulate:
    Date:

                  (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
    Date:

                  (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
    Date:

                  (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
    Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
    Data:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
    Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
    Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR

    LAW/229(Rev 02/15)       STIPULATION — EARLY ORGANIZATIONAL MEETING
    LAW Approved 04111                                                                                  Page 2 of 2
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 30 of 36 Page ID #:39




 MLR NM NUMBSC4,AITGROMY ORPARTY WITHOUT ATTOSUNI:                WATSOM NUMMI                         Rifrovod kr PalPo Mr.




           TELEPHONE NO.:                            FAX NO.(Optkinal):
  E-MAIL ADDRESS(Operaud);
     ATTORNEY FOR(Name).
 SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
 COURTHOUSEAODRESS:




 DEFENDANT: •

                                                                                              CASE NUMBER:
                 INFORMAL DISCOVERY CONFERENCE
           (pursuant to the Discovery Resolution Stipulation of the parties)
       1. This document relates to:
             0       Request for Informal Discovery Conference
             0       Answer to Request for Informal Discovery Conference
       2. Deadline for Court to decide on Request:                           (Insert date 10 calendar days following Ming of
            the Request).
       3. Deadline for Court to hold Informal Discovery Conference:                                     (Insert date 20 calendar
            days following filing of the Request).
       4. For a Request for Informal Discovery Conference, briefly describe the nature of the
          discovery dispute, Including the facts and legal arguments at issue. For an Answer to
          Request for Informal Discovery Conference, jbyleflv describe why the Court should deny
          the requested discovery,including the facts and legal arguments at issue.




       LACW ass(new)                      INFORMAL DISCOVERY CONFERENCE
       LASC Approved 0011
       For Optional Use             (pursuant to the Discovery Resolution Stipulation ofthe parties)
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 31 of 36 Page ID #:40




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           TELEPHONE NO.:                         PAX NO.(Opticrudy
  E-MAIL ADDRESS(Optional):
     ATTORNEY FOR(Name):
 SUPERIOR COURT OF CALIFORNIAt COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:

 PLAINTIFF:

 DEFENDANT:                               -

                                                                                CASE NuMIIER:
               STIPULATION AND ORDER — MOTIONS IN LIMINE


      This stipulation Is intended to provide fast and informal resolution of evidentiary
      Issues through diligent efforts to define and discuss such issues and limit paperwork.

      The parties agree that:
      1. At least       days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed:
         motion in limine and the grounds for the proposed motion.
      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:
           a, Whether the parties can stipulate to any of the proposed motions. If the parties so
              stipulate, they may file a stipulation and proposed order with the Court.
              b. Whether any of the proposed motions can be briefed and submitted by means of a
                 short joint statement of issues. For each motion which can be addressed by a short
                 joint statement of issues, a short joint statement of issues must be filed with the Court
                 10 days prior to the final status conference. Each side's portion of the short joint
                 statement of issues may not exceed three pages. The parties will meet and confer to
                 agree on a date and manner for exchanging the parties' respective portions of the
                 short joint statement of issues and the process for filing the short joint statement of
                 issues.
      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



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      LASC APPioved GalI         STIPULATION AND ORDER— MOTIONS IN LIMINE
      For Optional Use                                                                                   Page 1 012
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 32 of 36 Page ID #:41




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     The following parties stipulate:
     Date:

                 (TYPE OR PRINT NAME)                     (ATTORNEY FOR PLAINTIFF)
     Date:

                 (TYPE OR PRINT NAME)                    (ATTORNEY FOR DEFENDANT)
     Date:

                 (TYPE OR PRINT NAME)                    (ATTORNEY FOR DEFENDANT)
     Date:

                 (TYPE OR PRINT NAME)                    (ATTORNEY FOR DEFENDANT)
     Date:

                 (TYPE OR PRINT NAME)                (ATTORNEY FOR                     )
     Date:

                 (TYPE OR PRINT NAME)                (ATTORNEY FOR                     )
     Date:

                 (TYPE OR PRINT NAME)                (ATTORNEY FOR                     )


     THE COURT SO ORDERS.

       Date:
                                                               JUDICIAL OFFICER




     LACIV 075(new)        STIPULATION AND ORDER— MOTIONS IN LIMINE
     LASC Approved 04111                                                          Page 2of2
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 33 of 36 Page ID #:42




                           Superior Court of California
                              County of Los Angeles




               ALTERNATIVE DISPUTE RESOLUTION (ADR)
                       I NFORMATION PACKET


                The person who files a civil lawsuit(plaintiff) must Include the ADR Information
                Packet with the complaint when serving the defendant. Cross-complainants must
                serve the ADR Information Packet on any new parties named to the action
                together with the cross-complaint,
                There are a number of ways to resolve civil disputes without having to sue
                someone.These alternatives to a lawsuit are known as alternative dispute
                resolution(ADR).
                In ADR,trained, Impartial persons decide disputes or help parties decide disputes
                themselves. These persons are called neutrals. For example,in mediations, the
                neutral is the mediator. Neutrals normally are chosen by the disputing parties or by
                the court. Neutrals can help resolve disputes without havinglo go to court.




 LAMM 005(Rev.03/17)
 LASC Adopted 10-03
 Cal. Rules of Court, rule 3.221
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 34 of 36 Page ID #:43




 Advantages of ADR
    • Often faster than going to trial
    • Often less expensive,saving the litigants court costs, attorney's fees and expert fees.
    • May permit more participation, allowing parties to have more control over the outcome.
    • Allows for flexibility in choice of ADR processes and resolution of the dispute.
    • Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
       mutually agree to remedy.
    • There are fewer,if any,court appearances. Because ADR can be faster and save money, it can reduce
       stress. •

 Disadvantages of ADR - ADR may not be suitable for every dispute.
   • If ADR is binding,the parties normally give up most court protections, Including a decision by a judge or
       jury under formal rules of evidence and procedure,and review for legal error by an appellate court.
   • ADR may not be effective if it takes place before the parties have sufficient information to resolve the
       dispute.
    • The neutral may charge a fee for his or her services.
    • If the dispute is not resolved through ADR,the parties may then have to face the usual and traditional
       costs of trial, such as attorney's fees and expert fees.


 The Most Common Types of ADR

     • Mediation

          In mediation, a neutral(the mediator)assists the parties in reaching a mutually acceptable resolution
          of their dispute. Unlike lawsuits or some other types of ADR,the parties, rather than the mediator,
          decide how the dispute is to be resolved.

             • Mediation is particularly effective when the parties have a continuing relationship, like
               neighbors or business people. Mediation is also very effective where personal feelings are
               getting In the way of a resolution. This is because mediation normally gives the parties a chance
               to express their feelings and find out how the other sees things.

              ■   Mediation may not be effective when one party is unwilling to cooperate or compromise or
                  when one of the parties has a significant advantage in power over the other. Therefore, it may
                  not be a good choice If the parties have a history of abuse or victimization.




  LAAOR 005(Rev.03/17)
  LASC Adopted 10-03
  Cal. Rules of Court, rule 3.221
                                                      Page 2 of4
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 35 of 36 Page ID #:44




             ■   Arbitration

                 In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from each
                 side and then decides the outcome of the dispute. Arbitration is typically less formal than a
                 trial, and the rules of evidence may be relaxed. Arbitration may be either "binding" or "non-
                 binding," Binding arbitration means the parties waive their right to a trial and agree to accept
                 the arbitrator's decision as final. Non-binding arbitration means that the parties are free to
                 request a trial if they reject the arbitrator's decision.

                 Arbitration is best for cases where the parties want another person,to decide the outcome of
                 their dispute for them but would like to avoid the formality, time,and expense of a trial. it may
                 also be appropriate for complex matters where the parties want a decision-maker who has
                 training or experience in the subject matter of the dispute.


             ■   Mandatory Settlement Conference(MSC)

                 Settlement Conferences are appropriate in any case where settlement is an option.
                 Mandatory Settlement Conferences are ordered by the Court and are often held near the date
                 a case is setfor trial. The parties and their attorneys meet with a judge who devotes his or her
                 time exclusively to preside over the MSC.The judge does not make a decision in the case but
                 assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a
                 settlement.

                 The Los Angeles Superior Court Mandatory Settlement Conference(MSC)program is free of
                 charge and staffed by experienced sitting civil judges who devote their time exclusively to
                 presiding over MSCs. The Judges participating in the judicial MSC program and their locations
                 are identified in the List of Settlement Officers found on the Los Angeles Superior Court website
                 at ntto://www.lacouttpre/. This program is available In general jurisdiction cases with
                 represented parties from Independent calendar(IC)and Central Civil West(CCW)courtrooms.
                 In addition, on an ad hoc basis, personal injury cases may be referred to the program on the
                 eve of trial by the personal injury master calenda► courts in the Stanley Mosk Courthouse or the
                 asbestos calendar court in CCW.

                 In order to access the Los Angeles Superior Court MSC Program the Judge in the IC courtroom,
                 the CCW Courtroom or the personal Injury master calendar courtroom must refer the parties to
                 the program. Further, all parties must complete the information requested in the Settlement
                 Conference Intake Form and email the completed form to mscdept18@lacourt.org.




 LAADR 005 (Rev. 03/17)
 LASC Adopted 10-03
 Cal. Rules of Court, rule 3.221
                                                     Page 3 of 4
Case 2:17-cv-05072-FLA-RAO Document 1-1 Filed 07/10/17 Page 36 of 36 Page ID #:45




  Additional Information

 To locate a dispute resolution program or neutral in your community:

     • Contact the California Department of Consumer Affairs(www.dca.camov)Consumer Information
       Center toll free at 800-952.5210, or;
     • Contact the local bar association (http://www.lacba.org/)or;
     • Look in a telephone directory or search online for "mediators; or "arbitrators."

  There may be a charge for services provided by private arbitrators and mediators.


  A list of approved State Bar Approved Mandatory Fee Arbitration programs is available at
  htto://calbar.ca.goviAttornevs/MemberServices/FeeArbitration/AoorovedProftrams,asox#19


  To request Information about,or assistance with, dispute resolution, call the number listed below. Or you may
  call a Contract Provider agency directly. A list of current Contract Provider agencies In Los Angeles County is
  available at the link below.

  htto://css.lacountv.Rov/orogramsidispute-resolution-orogram-drof



                                    County of Los Angeles Dispute Resolution Program
                                            3175 West 6th Street, Room 406
                                               Los Angeles, CA 90020-1798
                                                   TEL:(213)738-2621
                                                   FAX:(213)386-3995




  LAADR 005(Rev.03/17)
  LAW Adopted 10-03
  Cal. Rules of Court, rule 3.221
                                                       Page 4 of4
